      Case: 1:25-cv-01468 Document #: 4-1 Filed: 02/14/25 Page 1 of 3 PageID #:34



                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION


 PHILIP R. MCHUGH,                                    )   Case No.
                                                      )
                               Movant,                )   Related to: Philip R. McHugh v. Fifth Third
                                                      )   Bancorp, et al^ No. l:21-cv-00238 (S.D.
 V.                                                   )   Ohio)
                                                      )
 RHR INTERNATIONAL, LTD.                              )   Judge
                                                      )
                               Respondent.            )   Magistrate Judge


                       DECLARATION OF JOSHUA M. SMITH. ESQ.


         I, Joshua M. Smith, Esq, make this statement pursuant to 28 U.S. Code § 1746 and

thereby declare that this statement is true under penalty of perjury.

         1.     1 am over the age of 18.

         2.     I represent Plaintiff/ Movant Philip R. McHugh with respect to his claims in the

ongoing litigation captioned Philip R. McHugh v. Fifth Third Bancorp, et al.^ No. l:21-cv-00238

and currently pending in the United States District Court for the Southern District of Ohio.

         3.     Attached to this Affidavit are true and accurate copies of the documents referenced

throughout Plaintiffs Motion to Compel Production of Documents Subpoenaed from RHR

International, Ltd. (“RHR”), or in the Alternative, to Transfer Motion to the Southern District of

Ohio, including Exhibits 1-13.

         4.     Exhibit 1 is a true and accurate copy of Plaintiffs original subpoena duces tecum

served on RHR on April 1, 2022.

         5.     Exhibit 2 is a true and accurate copy of correspondence sent by Christopher A.

Bloom (“Bloom”), Counsel for RHR, to Plaintiff’s counsel, dated April 14, 2022.



                                                  1
    Case: 1:25-cv-01468 Document #: 4-1 Filed: 02/14/25 Page 2 of 3 PageID #:35




         6.    Exhibits is a true and accurate copy of correspondence sent by Plaintiffs counsel

to Bloom, dated April 25, 2022.

         1.    Exhibit 4 is a true and accurate copy of Plaintiffs supplemental subpoena duces

tecum served on RHR on April 21, 2023.

               Exhibits is a true and accurate copy of correspondence sent by Bloom to Plaintiff’s

Counsel, dated May 3, 2023.

         9.    Exhibit 6 is a true and accurate copy of correspondence sent by Plaintiff’s counsel

to Bloom, dated January 30, 2024.

         10.   Exhibit 7 is a true and accurate copy of Plaintiff’s modified subpoena duces tecum

served on RHR on September 18, 2024.

         11.   Exhibits is a true and accurate copy of con-espondence sent by Bloom to Plaintiff’s

counsel, dated October 4, 2024.

         12.   Exhibit 9 is a true and accurate copy of correspondence sent by Plaintiffs counsel

to Bloom, dated October 25, 2024.

         13.   Exhibit 10 is a true and accurate copy of an e-mail sent by Plaintiff’s counsel to

RHR’s counsel, dated November 6, 2024.

         14.   Exhibit 11 is a true and accurate copy of an e-mail sent by Nichole Mueller

("Mueller”), Counsel for RHR, to Plaintiff’s counsel, dated November 20, 2024.

         15.   Exhibit 12 is a true and accurate copy of text message correspondence between

Robert Shaffer ('‘Shaffer”) and Gregory Carmichael (“Carmichael”), dated April 3, 2020

(Designated as Confidential Pursuant to the Parties’ Stipulated Protective Order and filed under

seal).




                                                2
    Case: 1:25-cv-01468 Document #: 4-1 Filed: 02/14/25 Page 3 of 3 PageID #:36




       16.     Exhibit 13 is a true and accurate copy of text message con-espondence between

Shaffer and Cannichael, dated May 4, 2020 (Designated as Confidential Pursuant to the Parties’

Stipulated Protective Order and filed under seal).


Further Affiant sayeth naught.




Sworn to and subscribed in my presence this /^day of                 (2L       2025.




                     Shirley R. Bryan                Notary^i^lie          ^
                Notary Public, State of Ohio         State of Ohio
★                Mv Commission Expires:
                    December 05, 2028




                                                 3
